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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

JANE E. O'BRIEN,
Plaintiff,

Vv.

WILMINGTON TRUST NATIONAL
ASSOCIATION, as Successor
Trustee to CITIBANK, N.A., as
Trustee for Holders of BEAR
STEARNS ALT-A TRUST 2006-6
MORTGAGE PASS-THROUGH
CERTIFICATES SERIES 2006-6,
Defendant.

C.A. No. 17-cv-11228-MLW

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MEMORANDUM AND ORDER

WOLF, D.J. November 30, 2020

ZI. INTRODUCTION

Plaintiff Jane E. O'Brien filed this action in Massachusetts
Superior Court on June 5, 2017, seeking an injunction to stop
foreclosure on her home, a declaratory judgment to quiet title to
her home, and damages for intentional infliction of emotional
distress. See Verified Compl. (Dkt. No. 1-1). After the
Massachusetts Superior Court granted plaintiff's motion for
preliminary injunction, defendant Wilmington Trust National
Association! removed the case to this court and answered the

complaint. See Dkt. Nos. 1, 4. Defendant subsequently moved for

 

1 Defendant Wilmington Trust National Association was sued in
its capacity as Successor Trustee to CitiBank, N.A., as Trustee
for Holders of Bear Stearns AIt-A Trust 2006-6 Mortgage Pass-
Through Certificates Series 2006-6 (the "Trust").

 
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judgment on the pleadings and to dissolve the preliminary
injunction. See Dkt. No. 11 (the "Motion"). Recently, defendant
filed a second motion to dissolve the preliminary injunction based
on allegations that plaintiff has not complied with it by failing
to pay into escrow $8,000 per month for use and occupancy, and is
$248,000 in arrears on such payments. See Dkt. No. 34.

For the reasons explained below, the court is allowing the
motion for judgment on the pleadings on all counts and dissolving
the preliminary injunction.

II. PROCEDURAL HISTORY

On June 5, 2017, plaintiff filed the complaint in the
Massachusetts Superior Court for Norfolk County, seeking both
injunctive relief and damages. See Dkt. No. 1-1. Following briefing
and a hearing, the Superior Court issued a Preliminary Injunction.
See Endmt. Order (Dkt. No. 5, at 66 of 218); Prelim. Inj. (Dkt.
No. 5, at 139 of 218). The Preliminary Injunction enjoins defendant
from foreclosing on the Property. Id. It also requires plaintiff
to obtain insurance, pay future real estate taxes, and pay into
escrow $8,000 each month, beginning September 1, 2017, for use and
occupancy of the property. Id.

On July 3, 2017, defendant removed the case to this United
States District Court based on diversity jurisdiction pursuant to
28 U.S.C. §1332. See Notice of Removal 494-8 (Dkt. No. 1). On March

30, 2018, defendant filed the Motion. See Dkt. No. 11.
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Plaintiff did not timely oppose the Motion. Instead, she
belatedly moved for an extension of time, without the certificate
of consultation required by Rule 7.1 of the Local Rules of the
United States District Court for the District of Massachusetts
(the "Local Rules"). See Dkt. No. 13. However, because defendant
opposed extending plaintiff's time to respond to the Motion, the
court ordered her to file a reply by May 8, 2018 instead of ordering
the parties to confer. See Dkt. Nos. 14, 15. Plaintiff did not
file a timely reply. On May 16, 2018, she filed another motion for
extension of time (Dkt. No. 16), which defendant again opposed
(Dkt. No. 17).

Although the court noted that plaintiff had failed to show
good cause for failing to file a reply by May 8, 2018, the court
also noted the strong preference for cases being decided on the
merits. See Dkt. No. 18. Therefore, the court ordered plaintiff to
file her opposition to the Motion by May 23, 2018, and stated that
"no further extensions [would] be granted." See Dkt. No. 18. The
court also ordered plaintiff's counsel to confer with defense
counsel regarding payment by counsel of the reasonable attorneys'
fees defendant's counsel had incurred in opposing the motion for
extension of time. Id. Plaintiff did not file her opposition to
the Motion by May 23, 2018.

On May 31, 2018, defense counsel reported to the court that

it had sought to confer with plaintiff's counsel regarding the
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attorneys' fees incurred in opposing the motion for extension of
time. See Dkt. No. 19. Defense counsel requested additional time
to get approval from defendant regarding the settlement offered by
plaintiff's counsel. Id. On June 8, 2018, defense counsel reported
that defendant had accepted plaintiff's counsel's offer, but had
not heard from him since. See Dkt. No. 20. Defense counsel asked
the court to order plaintiff's counsel to pay $2,000 to defense
counsel by June 22, 2018. Id. Plaintiff's counsel eventually paid
this amount. See Gens Letter 2 (Dkt. No. 30).

On June 10, 2018, plaintiff finally filed her opposition to
the Motion. See Dkt. No. 21. Defendant promptly moved to strike
the opposition as untimely. See Dkt. No. 24. Later, defendant moved
in the alternative for leave to file a reply in support of the
Motion. See Dkt. No. 26. The court permitted defendant to file a
reply and noted that it would "consider imposing sanctions on
plaintiff for her late filing." Dkt. No. 27. Defendant filed its
reply on August 24, 2018. See Dkt. No. 28.

On July 1, 2019, defendant wrote to the court to state that
plaintiff had violated the preliminary injunction. See Gens Letter
1 &n.2 (Dkt. No. 30). Defendant states that until March 2018,
plaintiff had complied with the terms of the preliminary injunction
and paid $68,000 into escrow for use and occupancy. See id.;
Fragomeni Decl. 493-4 (Dkt. No. 31). However, defendant states

that plaintiff has failed to make any payments since. See id. 4;
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Gens Letter 1 & n.2 (Dkt. No. 30). Defendant also informed the
court of supplemental authority on the question of ineffective
purported assignments of mortgage. See id. at 2. The defendant
recently incorporated these allegations into a new motion to
dissolve the preliminary injunction. See Dt. No. 34. Defendant
alleges that plaintiff is now $248,000 in arrears on her payment
obligations. Id. at 1. Plaintiff has not responded to the July 1,
2019 letter or the second motion to dissolve the preliminary
injunction.
IiI. JUDGMENT ON THE PLEADINGS STANDARD

"After the pleadings are closed -- but early enough not to
delay trial -- a party may move for judgment on the pleadings."
Fed. R. Civ. P. 12(c). "Because rendition of judgment in such an
abrupt fashion represents an extremely early assessment of the
merits of the case, the trial court must accept all of the
nonmovant's well-pleaded factual averments as true." Rivera-Gomez
v. De Castro, 843 F.2d 631, 635 (lst Cir. 1988). In other words,
as a motion for judgment on the pleadings "calls for an assessment
of the merits of the case at an embryonic stage, the court must
view the facts contained in the pleadings in the light most
favorable to the nonmovant and draw all reasonable inferences
therefrom" in the nonmovant's favor. R.G. Fin. Corp. v. Vergara-

Nunez, 446 F.3d 178, 182 (lst Cir. 2006).
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A Rule 12(c) motion for judgment on the pleadings "is treated
much like a Rule 12(b)(6) motion to dismiss." Perez-Acevedo v.
Rivero-Cubano, 520 F.3d 26, 29 (1st Cir. 2008). Accordingly, in
reviewing a motion for judgment on the pleadings, the court must
"accept all of the non-movant's well-pleaded factual averments as
true." Rivera-Gomez, 843 F.2d at 635. "Under Bell Atlantic v.
Twombly, 550 U.S. 544, 555 [2007], to survive a Rule 12(b) (6)
motion (and, by extension, a Rule 12(c) motion) a complaint must
contain factual allegations that ‘raise a right to relief above
the speculative level, on the assumption that all the allegations
in the complaint are true.'" Perez-Acevedo, 520 F.3d at 29. Such
a motion should be denied if a plaintiff has shown "a plausible
entitlement to relief." Twombly, 550 U.S. at 559. This means that
the complaint "must contain sufficient factual matter, accepted as
true, to state a claim to relief that is plausible on its face."

Ashcroft v. Igbal, 556 U.S. 662, 678 (2009) (internal quotation

 

omitted). A claim is facially plausible if the plaintiff pleads
"factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged."
Id. at 683. "Where a complaint pleads facts that are merely
consistent with a defendant's liability, it stops short of the
line between possibility and plausibility of entitlement to
relief." Id. at 678 (internal quotations omitted). The

plausibility standard does not require "detailed factual

 
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allegations," but does require "more than labels and conclusions,
and a formulaic recitation of the elements of a cause of action
will not do." Twombly, 550 U.S. at 555.

While the court must "take all factual allegations as true
and .. . draw all reasonable inferences in favor of the

plaintiff." Rodriguez-Ortiz v. Marao Caribe, Inc., 490 F.3d 92, 96

 

(lst Cir. 2007), the court must disregard "bald assertions,
unsupportable conclusions, and opprobrious epithets." In re
Citigroup, Inc., 535 F.3d 45, 52 (1st Cir. 2008); see also

Penalbert-Roia v. Fortuno-Burset, 631 F.3d 592, 595 (list Cir.

 

2011). The court "neither weighs the evidence nor rules on the
merits because the issue is not whether plaintiffs will ultimately
prevail, but whether they are entitled to offer evidence to support
their claims." Day v. Fallon Cmty. Health Plan, Inc., 917 F. Supp.
72, 75 (D. Mass. 1996).

At this stage, "the district court may properly consider only
facts and documents that are part of or incorporated into the

complaint." Rivera v. Centro Medico de Turabo, Inc., 575 F.3d 10,

 

15 (lst Cir. 2009) (quotation omitted). However, in certain
circumstances the court may also consider other documents as well.
There are "narrow exceptions for documents the authenticity of
which are not disputed by the parties; for official public records;
for documents central to plaintiff['s] claim; or for documents

sufficiently referred to in the complaint." Watterson v. Page, 987

 

 
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F.2d 1, 3-4 (lst Cir. 1993); see also Schatz v. Republican St.

 

Leadership Comm., 669 F.3d 50, 55-56 &n.3 (1st Cir. 2012); Beddall

v. State St. Bank & Tr. Co., 137 F.3d 12, 17 (lst Cir. 1998). When

 

such documents contradict an allegation in the complaint, the
document "trumps the allegation[]." See Clorox Co. v. Proctor &
Gamble Consumer Co., 228 F.3d 24, 32 (1st Cir. 2000) (quotations
omitted) .

For allegations of fraud, Federal Rule of Civil Procedure
9(b) imposes a heightened pleading standard that requires that the
plaintiff state "with particularity the circumstances constituting
fraud or mistake." Fed. R. Civ. P. 9(b). To plead circumstances
"with particularity," a plaintiff must specify "the who, what,
where, and when of the allegedly false or fraudulent
representation." Rodi v. S. New Engl. Sch. of Law, 389 F.3d 5, 15
(Ist Cir. 2004) (quoting Alt. Sys. Concepts, Inc. v. Synopsis,

Inc., 374 F.3d 23, 29 (lst Cir. 2004)); see also United States ex

 

rel. Gagne v. City of Worcester, 565 F.3d 40, 45 (1st Cir. 2009)

 

(the complaint "must specify the time, place, and content of an
alleged false representation") .

"There is, of course, a modest difference between Rule 12(c)
and Rule 12(b)(6) motions. A Rule 12(c) motion unlike a Rule
12(b) (6) motion implicates the pleadings as a whole." Aponte-

Torres v. Univ. of P.R., 445 F.3d 50, 54 (lst Cir. 2006). Filed

 

after the close of the pleadings, a Rule 12(c) motion is "based
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solely on the factual allegations in the complaint and answer."

NEPSK, Inc. v. Town of Houlton, 283 F.3d 1, 8 (1st Cir. 2002). As

 

with a Rule 12(b)(6) motion, however, those factual allegations
may be augmented by "documents incorporated by reference into the
complaint, matters of public record, and facts susceptible to
judicial notice." Grajales v. Puerto Rico Ports Auth., 682 F.3d
40, 44 (lst Cir. 2012) (quoting Haley v. City of Boston, 657 F.3d
39, 46 (lst Cir. 2011).

Iv. FACTS

The following allegations are taken from plaintiff's Verified
Complaint (Dkt. No. 1-1). Further detail is discussed in the
analysis below.

On July 17, 2006, plaintiff closed on the purchase of a house
located at 430 Grove Street, Needham, Norfolk County,
Massachusetts (the "Property"). When she closed on the Property,
she executed a note (the "Note") for $2,940,000. Id. 4412, 25, 31
& Exs. A, C. The lender on the Note was America's Wholesale Lender.
Id. 431. To secure the Note, plaintiff granted a mortgage on the
Property (the "Mortgage") to Mortgage Electronic Registration
Systems, Inc. ("MERS"), as nominee for America's Wholesale Lender.
Id. 14.

On February 16, 2016, David Andrews, a Document Execution
Specialist of Nationstar Mortgage LLC ("Nationstar"), completed a

Certification Pursuant to Massachusetts 209 C.M.R. §18.21A(2) (c)
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(the "Certification"). Id. Ex. A 495-7. Andrews stated that
plaintiff had defaulted on the Mortgage. Id. 94. As a result,
Andrews wrote, Nationstar had initiated a foreclosure in
defendant's name. Id.

Plaintiff alleges that defendant does not have standing to
foreclose on the Property. She states that defendant does not own
the Note. In addition, she states that assignments of the Mortgage
following closing are "wild deeds" executed without proper
authority. Therefore, she argues, the Mortgage was never
effectively assigned to defendant. She also alleges that defendant
failed to comply with Massachusetts law concerning required
foreclosure procedures. Due to these alleged deficiencies,
plaintiff argues, the court should quiet title in the Property and
declare the Mortgage unenforceable. In addition, she alleges that
defendant's attempts to foreclose on the Property, including
allegedly fraudulent transfers of the Mortgage, entitle her to
damages for intentional infliction of emotional distress.

IV. DISCUSSION

As indicated earlier, plaintiff's Verified Complaint purports
to state four causes of action: (1) injunction to stop and prevent
wrongful foreclosure; (2) quiet title; (3) declaratory judgment
that the mortgage on the property is unenforceable; and
(4) intentional infliction of emotional distress. Defendant moves

for judgment on each count. In addition, defendant asks the court

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to dissolve the Preliminary Injunction because plaintiff has
failed to comply with the conditions set by the Massachusetts
Superior Court by failing to make the required payments since March
2018.

The court addresses each issue as follows.

A. Motion for Judgment on the Pleadings.

 

1. Defendant is Entitled to Judgment on Count 1.

 

Count 1 alleges that because defendant has no interest in the
Note or Mortgage, and has not complied with the notice and
foreclosure requirements under Massachusetts law, plaintiff is
entitled to a preliminary and permanent injunction to enforce her
quiet title and wrongful foreclosure claims. See Verified Compl.
1169-74.

However, “injunctive relief is not a stand-alone cause of

action under Massachusetts or federal law." Comley v. Town of

 

Rowley, 296 F. Supp. 3d 327, 332 (D. Mass. 2017) (quotation
omitted). Accordingly, courts applying Massachusetts law have
regularly dismissed stand-alone counts for injunctive relief

because they "'state[] a claim for a remedy, not a cause of action'

 

2 Although the count is captioned "Preliminary Injunction and
Permanent Injunction to Stop and Prevent Wrongful Foreclosure,"
the allegations under that heading refer only to a preliminary
injunction, which has already been granted by the Massachusetts
Superior Court. See June 14, 2017 Interlocutory Order on Prelim.
Inj. (Dkt. No. 5, at 139).

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and add[{] nothing to the complaint where injunctive relief is
specified in the 'prayers for relief' section of the complaint."

Payton v. Wells Fargo Bank, N.A., No. 12-11540-DJC, 2013 WL 782601,

 

*6 (D. Mass. Feb. 28, 2013) (collecting cases) (quoting Unitrode

Corp. v. Linear Tech. Corp., No. 98-5983, 2000 WL 281688, *5 (Mass.

 

Super. Ct. Feb. 17, 2000)).

Here, each of plaintiff's allegations regarding the
injunction, liberally construed, pertain to wrongful foreclosure
for lack of standing, and her prayer for relief includes a request
for an injunction. As the allegations in Count 1 seek an injunction
and are otherwise stated in Count 3, which alleges a cause of
action for wrongful foreclosure, Count 1 is duplicative.
Therefore, defendant is entitled to judgment on Count 1.

2. Defendant is Entitled to Judgment on Count 2.

 

In Count 2 plaintiff alleges she is the sole owner in fee
simple of the Property and seeks to quiet title pursuant to Mass.
Gen. Laws ch. 240, §6. See Verified Compl. 4975-83 (Dkt. No. 1-
1). More specifically, plaintiff alleges that because the recorded
assignments in the chain of title are invalid, defendant has no
interest in the note, and her mortgage is not in the Bear Stearns
Trust. Id. Therefore, she argues, because defendant has no interest
in her property, she is entitled to quiet title. Id. 83.

General Laws ch. 240, §1, permits a cause of action to quiet

title where "the record title of land is clouded by an adverse

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claim, or by the possibility thereof ... ." However, such an
action must be brought by, as relevant here, "a person in
possession of such land claiming an estate of freehold therein."
Id. "In a 'title theory state' like Massachusetts, a mortgage is
a transfer of legal title in a property to secure a debt.
Therefore, when a person borrows money to purchase a home and gives
the lender a mortgage, the homeowner-mortgagor retains only
equitable title in the home; the legal title is held by the
mortgagee." U.S Bank Nat'l Ass'n v. Ibanez, 941 N.E.2d 40, 51
(Mass. 2011). "Under Massachusetts law, a quiet title action
‘cannot be maintained [until] both actual possession and the legal
title are united in the plaintiff.'" Rezende v. Ocwen Loan Serv.,
LLC, 869 F.3d 40, 43 (lst Cir. 2017) (quoting Daley v. Daley, 14
N.E.2d 113, 116 (Mass. 1938)). Therefore, "[a] mortgagor lacks
standing to bring a quiet title action as long as the mortgage
remains in effect." Id.; see Flores v. OneWest Bank, F.S.B., 172
F. Supp. 3d 391, 396-97 (D. Mass. 2016) (dismissing count seeking
to quiet title by mortgagor). "(W]hat matters" on a motion for
judgment on the pleadings "is the existence of a mortgage, not
whether the underlying loan is in default" or whether plaintiff
challenges a later assignment of the mortgage. Rezende, 869 F.3d
at 43. Therefore, the Supreme Judicial Court has affirmed dismissal
of a quiet title action where the plaintiff alleged that a mortgage

had been granted on the property but did not allege that the

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mortgage was invalid or had been discharged. See Bevilacqua v.

 

Rodriguez, 955 N.E.2d 884, 895 (Mass. 2011).

Here, plaintiff in her Verified Complaint alleges that she
granted the Mortgage as collateral for the Note. She does not argue
that her initial grant of the Mortgage was invalid or that the
Mortgage has since been’ satisfied. Instead, plaintiff's
allegations pertain to the validity of later assignments of the
Note and Mortgage. Therefore, like the plaintiff in Rezende,
plaintiff lacks standing to maintain a quiet title action.
Accordingly, defendant is entitled to judgment on Count 2.

3. Defendant is Entitled to Judgment on Count 3

Because Plaintiff has Not Plausibly Alleged that
Defendant Lacks Standing to Enforce the Note.

 

 

In Count 3 plaintiff seeks a declaratory judgment that states
that defendant lacks standing to foreclose on the Property and
that the recorded assignments of the mortgage have clouded title
such that no entity owns the mortgage. Id. 4984-92. In the
alternative, plaintiff seeks a declaratory judgment stating which
entity does own the mortgage and has standing to foreclose. See
id. {92.

Defendant argues that plaintiff's complaint was not well-
pleaded because she requests a declaratory judgment in the cause
of action, rather than only in the prayer for relief. The court
addresses this argument first before considering whether plaintiff

has alleged a plausible claim to relief in alleging: that defendant

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does not own the Note; that neither defendant nor anyone else can
show privity of contract with respect to the Mortgage; and that
defendant failed to follow Massachusetts law on foreclosure
procedure.

a. The Structure of Plaintiff's Complaint
does not Render Count 3 Invalid.

 

 

Defendant argues that plaintiff's complaint was not well-
pleaded because she requests a declaratory judgment in the cause
of action, rather than only in the prayer for relief. Because a
declaratory judgment is a remedy, not an independent cause of
action, defendant argues, Count 3 should be dismissed. See Dkt.
No. 12, at 11-12 (citing Buck v. Am. Airlines, Inc., 476 F.3d 29,
33 n.3 (lst Cir. 2007)). However, Buck does not stand for the
proposition that a formality can invalidate a count in the
complaint.

In Buck, the First Circuit considered whether the Declaratory
Judgment Act, 28 U.S.C. §2201(a), created a remedy or an
independent, federal cause of action. See 476 F.3d at 34-35. The
proponent of the latter position argued that the Declaratory
Judgment Act created a cause of action that converted state-law
claims into federal claims. Id. The proponent further argued that
this would evade the preemption provision that Congress had
included in airline deregulation legislation. Id. The First

Circuit ruled that the Declaratory Judgment Act did not create an

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independent federal cause of action for state-law claims. Id. The
First Circuit did not state, however, that federal courts could
not enter declaratory judgments where they otherwise had valid
subject matter jurisdiction.

Buck, therefore, is inapposite. Accordingly, the court turns
to the merits of the allegations.

b. Plaintiff has Not Plausibly Alleged that
Defendant Lacks Standing to Enforce the Note.

Plaintiff alleges that defendant does not possess the Note
and, therefore, lacks standing to foreclose. Verified Compl. 32
(Dkt. No. 1-1). In fact, she alleges, the original ink-signed Note
executed by her cannot be located at all. Id.

In support, plaintiff points to an undated, stamped
endorsement on what she alleges is an invalid copy of the Note,
which purports to grant the interest then held by America's
Wholesale Lender to an unknown (blank) entity.? Id. Ex. C (Dkt.

No. 1-1, at 38 of 74).4 Plaintiff further alleges that the person

 

3 Although assignment of a mortgage "in blank" may render that
assignment void ab initio, endorsement of a financial instrument
"in blank" makes it payable to the bearer or the person acting on
the bearer's behalf. See Mass. Gen. Laws ch. 106, §§3-205(b), 3-
301; Courtney v. U.S. Bank, N.A., 922 F. Supp. 2d 171, 174 (D.
Mass. 2013). The affidavit satisfying Eaton v. Fed. Nat'l Mortg.
Ass'n, 969 N.E.2d 1118 (Mass. 2012), discussed below, is adequate
here as well. Therefore, plaintiff has not alleged a plausible
claim concerning the requirements of the Note.

4 The endorsement reads:

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whose name appears in the stamped endorsement, Michele Sjolander,
has previously testified in another case that she was not present
when her name was affixed to notes. Id. 4935-37. As a result,
plaintiff alleges, defendant is unlikely to be able to establish
a reliable chain of custody for and a physical copy of the original
Note as necessary to demonstrate standing for foreclosure. Id.
q37.

Plaintiff's argument rests on a misapprehension of
Massachusetts law. Although the Massachusetts Supreme Judicial
Court has stated that the right to foreclose requires a party to
possess the mortgage and the underlying note, that holding was

nuanced. See Eaton v. Fed. Nat'l Mortg. Ass'n, 969 N.E.2d 1118,

 

1129-30 (Mass. 2012). Later in Eaton, the court stated: "we do not
conclude that a foreclosing mortgagee must have physical
possession of the mortgage note in order to effect a valid
foreclosure." Id. at 1131. Instead, the foreclosing assignee of

the mortgagee "may establish that it either held the note or acted

 

PAY TO THE ORDER OF

 

WITHOUT RECOURSE
COUNTRYWIDE HOME LOANS, INC., A NEW YORK CORPORATION
DOING BUSINESS AS AMERICA'S WHOLESALE LENDER
BY: Michele Sjolander
MICHELE SJOLANDER
EXECUTIVE VICE PRESIDENT

 

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on behalf of the note holder at the time of a foreclosure sale by
filing an affidavit in the appropriate registry of deeds." Id. at
1133 n.28. Therefore, plaintiff's allegations do not plausibly
state a claim to relief based on the assertion that defendant
cannot establish "the physical location of the Note." Verified
Compl. 9437 (Dkt. No. 1-1).

Moreover, defendant in this case has filed an Affidavit
Regarding Note Secured by a Mortgage to be Foreclosed ("Affidavit")
with the Norfolk County Register of Deeds that establishes
defendant as the note holder. See Dkt. No. 12, at 11n.9 (citing
Dkt. No. 5, at 120). Defendant filed the Affidavit in state court
as an exhibit during the hearing on the motion for preliminary
injunction and, therefore, plaintiff has long had notice of it.
See Dkt. No. 5, at 120. Plaintiff has not challenged the validity

of the Affidavit,> and the court takes judicial notice of the

 

5 Defendant only referred to the Affidavit in a footnote to its
memorandum in support of its motion for judgment on the pleadings.
See Dkt. No. 12, at 11 n.9. However, plaintiff was on notice of
the Affidavit and had ample opportunity to respond. As noted above,
the Affidavit was first filed on June 12, 2017 as an exhibit toa
brief defendant filed in state court. See Dkt. No. 12, at 120. The
defendant cited the Affidavit in that brief, arguing that it
established defendant as the note holder. See Id. at 86. Plaintiff
alleges in her complaint that there were "no documents recorded at
the Norfolk Registry of Deeds for Plaintiff's Property from the
execution date of Plaintiff's Note and Mortgage, July 16, 2006, up
until November 2011." Verified Compl. {42 (Dkt. No. 1-1). The
complaint is dated June 4, 2017, which is more than a year after
the Affidavit was filed. See Dkt. No. 5, at 120. If plaintiff
searched the Norfolk Registry of Deeds when she filed her

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Affidavit as an official public record. See Grajales, 682 F.3d at
44 ("matters of public record" can be considered when deciding a
motion for judgment on the pleadings); Benjamin v. Fremont Inv. &
Loan, No. 17-11727-PBS, 2018 WL 4017595, at *2 (D. Mass. Aug. 22,
2018) (taking judicial notice at the motion to dismiss stage of a
recorded Affidavit Regarding Note Secured by Mortgage Being
Foreclosed) .

Under Eaton, the Affidavit is sufficient to demonstrate that
defendant is the note holder, regardless of whether Michele
Sjolander can confirm if and under what circumstances the Note was
endorsed. See Eaton, 969 N.E.2d at 1133 n.28. Defendant has no
obligation to prove the chain of custody. The Affidavit is
sufficient to prove ownership. Id. Plaintiff, therefore, fails to
state a plausible claim for relief based on allegations that
defendant "will never be able to establish" either "a coherent and
legitimate chain of custody for Plaintiff's Note" or "ownership of
the note." Verified Compl. 937 (Dkt. No. 1-1).

Accordingly, plaintiff has not plausibly alleged that

defendant lacks standing to enforce the Note.

 

complaint, she should have been aware of the Affidavit. Therefore,
it is possible that the Complaint was filed in violation of Federal
Rule of Civil Procedure 11(b), which, among other things, requires
"an inquiry reasonable under the circumstances" before allegations
are made.

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c. Mortgage

As described earlier, when plaintiff purchased the Property,
she executed the Note for America's Wholesale Lender and
contemporaneously granted the Mortgage to MERS, as nominee for
America's Wholesale Lender. Verified Compl. 412, 14, 25, 31 &
Exs. A, C (Dkt. No. 1-1). She alleges that defendant does not have
authority to foreclose on the Property and refers to five
assignments of the Mortgage and underlying Note that she alleges

have been recorded with the Norfolk County recorder's office. Id.
qs, 9.

e The first recorded assignment ("Assignment 1") was executed
on October 28, 2011, by MERS to Citibank, N.A., as trustee
for the holders of the Trust. See id. 417 & Ex. D.

e The second recorded assignment ("Assignment 2") was
executed on July 30, 2013, by Bank of America, N.A., to
Nationstar. See id. 953 & Ex. F.

® The third recorded assignment ("Assignment 3") was executed
on February 3, 2015. See id. (57 & Ex. G. The face of
Assignment 3 states that it is a "Corrective Gap
Assignment" that "is being recorded to remedy a gap in the
recorded ownership interest" and states that the Mortgage
was assigned by defendant to Bank of America, N.A. See id.
Ex. G. Assignment 3 does not appear to state when the
purported assignment took place. See id.

e The fourth recorded assignment ("Assignment 4") was also
executed on February 3, 2015. See id. 57 & Ex. G.
Assignment 4 states that the Mortgage was assigned by
Nationstar to defendant. See id. 4417, 63.

e The fifth recorded assignment ("Assignment 5") was executed
on July 30, 2015, by Nationstar as attorney-in-fact to
Citibank, N.A., as trustee for the holders of the Trust,
to defendant, as successor trustee to Citibank, N.A., as
trustee for the holders of the Trust. See id. 966 & Ex. I.

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Plaintiff alleges that there is no chain of title to defendant
because each of Assignments i to 5 are each invalid. Therefore,
she argues, defendant lacks standing to foreclose.

The parties agree that Assignments 2, 3, and 4 are invalid.
They disagree as to the consequences of that invalidity. In
addition, and relatedly, defendant argues that plaintiff has
failed to plausibly allege that Assignments 1 and 5 are invalid.

Because the parties agree that Assignments 2, 3, and 4 are
invalid, the court is addressing Assignments 1 and 5 first.

i. Plaintiff has not Plausibly Alleged that
Assignment 1 is Invalid.

 

According to the Norfolk County recorder's office, Assignment
1 was executed on October 28, 2011, by MERS to Citibank, N.A., as
trustee for the holders of the Trust. See Compl. 917 (Dkt. No. 1-
1); id. Ex. D. The face of the assignment says that it was signed
by Swarupa Slee as Vice-President of MERS and notarized by Shannon
Steeg, a Los Angeles, California notary, and recorded on November
3, 2011. See id. 943; id. Ex. D.

Plaintiff challenges Assignment 1 in three respects. First,
plaintiff alleges that based on her investigation, Slee does not
appear to be "an actual individual" and is instead a fictitious
character who never signed Assignment 1. See id. 944. Because a
fictitious character could not have appeared in front of a notary,

plaintiff alleges that the notary's signature was a forgery as

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well. See id. In support, plaintiff submits variations of
Signatures by "Swarupa Slee" from various documents that differ
greatly. See id. 45; id. Ex. E. Plaintiff alleges that because
the document was forged, it is void ab initio. In her view, the
void assignment did not transfer any interest in the Mortgage or
Note to the Trust and cannot be relied upon by defendant in
foreclosure proceedings. See id. 9946-52.

The arguments concerning Swarupa Slee do not state a plausible
claim. The relevant Massachusetts Statute states that " [an]
assignment of mortgage[,] . . . if executed before a notary public,

by a person purporting to hold the position of president,
vice president, treasurer, .. . or other similar office or
position, including assistant to any such office or position, of
the entity holding such mortgage, or otherwise purporting to be an
authorized signatory for such entity, or acting under such power
of attorney on behalf of such entity, . . . shall be binding upon
such entity and shall be entitled to be recorded." Mass. Gen. Laws
ch. 183, §54B; see also Lopez v. Mortg. Elec. Registration Sys.,
inc., 486 B.R. 221, 229 (Bankr. D. Mass. 2013) (citing cases).
Here, Assignment 1 states that it was executed by Swarupa Slee as
Vice President of MERS and notarized by Shannon Steeg, a Los
Angeles, California notary. See id. 43; id. Ex. D. That is all
that is required under Mass. Gen. Laws ch. 183, §54B. See Lopez,

486 B.R. at 229.

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Moreover, even assuming, without finding, that the notary did
not exist, or was misled in believing that the person signing the
assignment was Slee, plaintiff would not be entitled to relief
because MERS, the assignor, was not deceived, and defendant does
not seek to void the transaction. Where an assignment is "merely
voidable" rather than void, a mortgagor does not have standing to
challenge it. Culhane v. Aurora Loan Servs. of Neb., 708 F.3d 282,
291 (lst Cir. 2013). As the First Circuit has affirmed:

Because the record contains no facts to contradict the [ ]
assignment's facial compliance with the statutory
requirements of Mass. Gen. Laws ch. 183, §54B, at most the
assignment was voidable. See Galvin v. U.S. Bank, N.A., 852
F.3d 146, 158 (lst Cir. 2017) ("Under Massachusetts law, as
long as the assignor is the record holder of the mortgage at
the time of the assignment .. . an assignment that complies
with . . . [section 54B] ‘cannot be shown to be void.'")
(citations omitted). Therefore, plaintiff has no standing to
challenge the assignment. See Wells Fargo Bank, N.A. v.
Anderson, 89 Mass. App. Ct. 369, 372 (2016).

 

Aja_v. Ocwen Loan Servicing, LLC, No. CV 16-10007-FDS, 2017 WL
5900961, at *4 (D. Mass. Nov. 30, 2017), aff'd, 754 F. App'x 13

(lst Cir. 2019). See also Chomo v. Full Spectrum Lending, Inc.,

 

6 The assignment of the mortgage bears the stamped seal of
Shannon Steeg, Notary Public for Los Angeles County, California.
See Dkt. No. 1-1, at 40. Plaintiff alleges that this notary
acknowledgement is a forgery. Id. 444. However, she provides no
support for this claim beyond the assertion that Swarupa Slee is
a fictitious character and "cannot sign a document to be
authenticated by a notary acknowledgement." Id. This is not
sufficient to allege a plausible inference that the notary
acknowledgement was forged. However, as explained above,
plaintiff's argument that the assignment is void is unmeritorious
in any event.

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No. 17-CV-12466-DJC, 2019 WL 3253701, at *4 (D. Mass. July 19,
2019) ("(A] Massachusetts appellate court has rejected a
plaintiff's argument that an assignment of a mortgage was defective
based on an allegedly 'robo-signed' document where the plaintiff
had not contested the fact that the assignor validly held the

mortgage.") (citing Wells Fargo Bank, N.A. v. Anderson, 89 Mass.

 

App. Ct. 369, 372 (2016)). Accordingly, plaintiff has not stated
a plausible claim for relief based on Slee's signature.

Second, plaintiff alleges that MERS lacked the authority to
assign the Mortgage because it was the lender's nominee. See id.
1914, 52. However, the Massachusetts Appeals Court has rejected
the suggestion that MERS, as nominee for a lender, lacks the

authority to assign a mortgage. See Sullivan v. Kondaur Capital

 

Corp., 7 N.E.3d 1113, 1118-19. Therefore, plaintiff has not
plausibly alleged that MERS lacked such authority in this case.
Third, plaintiff alleges that Assignment 1 was not effective
because it purports to assign the Mortgage to the Trust, but did
not comport with the Trust's Prospectus, Prospectus Supplement,
and Pooling and Servicing Agreement (the "Deal Documents"). Id.
({11-13, 50. The Deal Documents required assignment of the Mortgage
to the Trust by September 29, 2016, but Assignment 1 is dated
October 28, 2011. Plaintiff argues that because Assignment 1 was
not timely under the Deal Documents, it is void, and her Mortgage

was never assigned to the Trust. Therefore, plaintiff contends

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that defendant, as trustee for the Trust, lacks authority to
foreclose. The First Circuit has rejected this argument.
"([V]iolations of the terms of a [Pooling and Servicing Agreement]
would result in the assignment being voidable and not void." In re
Sheedy, 801 F.3d 12, 25 (1st Cir. 2015). Again, a mortgagor lacks
standing to challenge an assignment that may be voidable but is
not void. See Culhane, 708 F.3d at 291. Therefore, plaintiff has
failed to plausibly allege that her Mortgage was not transferred
to the Trust.

Accordingly, plaintiff does not plausibly allege that
defendant lacks standing to foreclose due to a defect in Assignment
1.

ii. Plaintiff has not Plausibly Alleged that
Assignment 5 is Invalid.

Assignment 5 was purportedly executed on July 30, 2015, by
Nationstar as attorney-in-fact to Citibank, N.A., as trustee for
the holders of the Trust, to defendant, as successor trustee to
Citibank, N.A., as trustee for the holders of the Trust. See
Verified Compl. 66 (Dkt. No. 1-1); id. Ex. I. The face of the
assignment says that it was signed by Kira Allen as Assistant
Secretary of Nationstar as attorney in fact to CitiBank, N.A. in
its capacity as trustee, and was notarized by Valencia Metcalf, a

Texas notary. See id. 966; id. Ex. I.

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Plaintiff argues that Assignment 5 suffers from three defects
that mean it is invalid. In no respect does she allege a plausible
claim.

First, plaintiff alleges that defendant's counsel contrived
Assignment 5 in an "attempt to fix the many wild deeds/broken chain
of title" in Assignments 1 to 4. Id. q6é7. However, although
plaintiff alleges in a conclusory manner that Assignment 5 was
made fraudulently, she does not provide any detail to support this
contention. See Fed. R. Crim. P. 9(b) (requiring heightened
pleading standard for fraud). Conclusory allegations do not state
a plausible claim for relief.

Second, plaintiff alleges that Assignment 5 is a "wild deed"
because the granting entity does not match the assignee in
Assignments 2, 3, or 4. However, as noted earlier, the parties
agree that Assignments 2, 3, and 4 are invalid because they were
not made by the proper grantor. An assignment is void ab initio
where it was not "made by a party that itself held the mortgage"
or was acting with the authority to assign it. Ibanez, 941 N.E.2d
at 53. This means that Assignments 2, 3, and 4 were nullities and
have no effect on the parties' claims to the Property. See Germano

v. U.S. Bank Nat'l Ass'n, No. 17-SBQ-36138-12-001 (HPS), 2018 WL

 

986065, *2 (Mass. Land Court Jan. 2, 2018) (noting that such a
"nullity" was "properly labeled ... as ‘'‘ineffective'").

Therefore, what matters is that the granting entity of Assignment

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5 is the same as the assignee of Assignment 1. Assignment 1 was
assigned to CitiBank, N.A. See Verified Compl. Ex. D (Dkt. No. 1-
1, at 39 of 74). Assignment 5 was assigned by CitiBank, N.A., to
defendant. See id. Ex. I (Dkt. No. 1-1, at 60). Therefore,
Assignments 1 and 5 "demonstrate a clear chain of title to the
present holder of the [MJortgage." Germano, 2018 WL 986065 at *2.
Accordingly, plaintiff has not plausibly alleged that Assignment
5 is a "wild deed" that would not give defendant standing to
foreclose.

Third, plaintiff argues that Citibank N.A., as trustee for
the Trust, could not assign the Mortgage to defendant as successor
Trustee. Plaintiff cites no authority for this proposition. Yet
even if plaintiff's argument had merit, it would not be material.
At most, plaintiff appears to argue that Assignment S was not
required because, by becoming successor Trustee, defendant already
had control over the Mortgage. If true, Assignment 1 would suffice
for defendant to have standing to foreclose.

Accordingly, plaintiff does not plausibly allege that
defendant lacks standing to foreclose due to a defect in Assignment

5.

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iii. Plaintiff has not Plausibly Alleged that
the Invalidity of Assignments 2, 3, and
4 Means that Defendant Lacks Standing to
Foreclose.

Assignment 2 was purportedly executed on July 30, 2013, by
Bank of America, N.A., to Nationstar. See id. 453; id. Ex. F.
Assignments 3 and 4 were both executed on February 3, 2015, by
Nadine Homan. See id. q57; id. Ex. G.’ The face of Assignment 3
states that it is a "Corrective Gap Assignment." See id. It states
that "is being recorded to remedy a gap in the recorded ownership
interest" based on an assignment from defendant to Bank of America,
N.A. See id. Plaintiff alleges that in Assignment 4, Nadine Homan
again and on the same date, as Vice President of Loan Documentation
for Nationstar, assigned the Mortgage to defendant. Id. 417, 63.

The parties agree that Assignments 2, 3, and 4 are invalid.®
However, as indicated earlier, they disagree as to the consequences

of that invalidity. Plaintiff argues that each of Assignments 2,

 

7 Exhibit G to plaintiff's Verified Complaint appears to
contain only Assignment 3. It is not clear whether plaintiff is
alleging that this document contains both Assignments 3 and 4, or
whether plaintiff erroneously omitted Assignment 4.

8 Plaintiff alleges that there are numerous defects in
Assignments 2 to 4. First, she alleges in a conclusory manner that
Assignment 2 was made fraudulently. Second, plaintiff alleges that
Assignments 3 and 4 are invalid because they were signed by Nadine
Homan, who plaintiff believes does not exist. See id. (57-60; id.
Ex. H. Third, plaintiff alleges that the very fact that Assignments
3 and 4 were executed by the same person on the same date but
purport to assign the Mortgage to two different entities is
inherently suspect and fraudulent. See id. (63-64.

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3, and 4 results in a clouded title that prevents a valid
foreclosure from taking place. See Compl. (416, 23, 24, 41 (Dkt.
No. 1-1). Defendant argues that because Assignments 2, 3, and 4
(purportedly granted by Bank of America, N.A., defendant, and
Nationstar, respectively) were not granted by an entity with the
requisite authority, they are irrelevant to the chain of title.
Instead, defendant argues, what matters is that Assignments 1 and
5 are valid and, as described above, show a clear chain of title
to defendant.

As explained earlier, where an assignment was not "made by a
party that itself held the mortgage" or was acting with the
authority to assign it, the assignment is void ab initio. Ibanez,
941 N.E.2d at 53. A void assignment is a legal nullity and has no
effect on other claims to the Property. See Germano, 2018 WL 986065
at *2 (noting that such a "nullity" was "properly labeled . .. as
'ineffective'"). Nor does a void assignment cloud title. "[T]here
is nothing magical in the act of recording an instrument with the
registry that invests an otherwise meaningless document with legal
effect." Bevilacqua, 955 N.E.2d at 892. Rather, "'mere assertions

whether recorded or unrecorded, do not constitute a cloud
upon title . .. ." Id. (quoting Nickerson v. Loud, 115 Mass. 94,
97-98, 1874 WL 9518, *3 (Mass. 1874)). "It is the effectiveness of

a document that is controlling rather than its mere existence."

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Id. Plaintiff does not cite any authority to the contrary to
support the proposition that faulty assignments cloud title.°®

Assignments 2, 3, and 4 are void and ineffective. Therefore,
they do not cloud title to the Property. Accordingly, plaintiff
fails to plausibly allege that defendant lacks standing to
foreclose because of the defects in Assignments 2 to 4.

d. Foreclosure Procedures

Massachusetts law requires foreclosing mortgagees to file and
provide a certificate pursuant to 209 C.M.R. §18.21A(2)(c). See
Dkt. No. 1-1 9919-20. As explained earlier, in 2016, David Andrews
completed the Certification in 2016 on behalf of Nationstar. Id.
Ex. A 945-7.

Plaintiff alleges that the Certification was defective. More
specifically, she alleges that the Certification provided by
Andrews listed only the first and fifth assignments that were
recorded in Norfolk County. See id. 420-21. She also alleges that

defendant has admitted that the second, third, and fourth recorded

 

9 Plaintiff relies on an expert affidavit from Marie McDonnell
to support the proposition that "wild deeds" create a cloud on
title that renders a property unmarketable. See Dkt. No. 21-1,
q23. Expert testimony on the law is generally impermissible. See,
e.g., Marx & Co. v. Diners' Club Inc., 550 F.2d 505, 509-10 (2d
Cir. 1977). Moreover, to the extent McDonnell is opining on
Massachusetts law, she is incorrect. In any event, whether a
property is not marketable as a matter of fact is not the same as
the legal issue of whether a defendant has the authority to
foreclose.

 

 

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assignments were omitted from the Certification and "are
ineffective as they do not have the proper grantor entity
thereupon." Id. § 22; id. Ex. B (the "Certificate"). Therefore,
she argues, defendant failed to comply with the procedural
requirements and is not entitled to foreclose on the Property. Id.
q24.

Under Massachusetts law, an entity seeking to foreclose must
file and provide to the mortgagor both a notice of foreclosure and
a certification of the chain of title. See 209 C.M.R.
§18.21A(2)(c). This provision requires a loan servicer to
"certif[y] the chain of title and ownership of the note and
mortgage from the date of the recording of the mortgage being
foreclosed upon." Id. The purpose of the certificate is to
demonstrate the right to foreclose, by "demonstrat[ing] an
unbroken chain of assignments of the mortgage in order to foreclose
a mortgage, and .. . that the entity holds the note (or acts as
authorized agent for the note holder) at the time it commences
foreclosure." U.S. Bank Nat'l Ass'n v. Mistovich, 147 N.E.3d 1107,
2020 WL 2894729, *3 (Mass. App. Ct. June 3, 2020) (quoting
Sullivan, 7 N.E.3d at 1119).

Here, plaintiff focuses on the fact that defendant omitted
the second, third, and fourth recorded assignments from the
Certificate. As explained earlier, however, these assignments were

void because the purportedly granting entity did not own the

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Mortgage at the time of the supposed assignment. Therefore, they
were not part of the chain of title and were properly excluded
from the Certificate. See Germano, 2018 WL 986065 at *2.
Accordingly, plaintiff has failed to plausibly allege that
defendant may not foreclose because it did not comply with the
required procedures.
Therefore, the defendant is entitled to judgment on Count 3.

4. Count 4: Intentional Infliction of Emotional
Distress

 

Count 4 alleges that by seeking to foreclose on the Property
without a valid interest in the mortgage, and by doing so with a
defective notice of sale and fraudulent assignment of the mortgage,
defendant intentionally inflicted emotional distress on plaintiff.
See Verified Compl. 9993-97 (Dkt. No. 1-1).

"The standard for making a claim of intentional infliction of
emotional distress is very high" under Massachusetts law. Polay v.
McMahon, 10 N.E.3d 1122, 1128 (Mass. 2014) (quoting Doyle v.
Hasbro, Inc., 103 F.3d 186, 195 (lst Cir. 1996)).

A claim for intentional infliction of emotional distress
requires "(1) that the actor intended to inflict
emotional distress or that he knew or should have known
that emotional distress was the likely result of [the]
conduct; (2) that the conduct was ‘extreme and
outrageous,' was 'beyond all possible bounds of decency'
and was ‘utterly intolerable in a civilized community; '
(3) that the actions of the defendant were the cause of
the plaintiff's distress; and (4) that the emotional
distress sustained by the plaintiff was 'severe' and of
a nature ‘that no reasonable [person] could be expected
to endure it.'" . . . Recovery on such a claim requires

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more than "that the defendant has acted with an intent

which is tortious or even criminal, or that he has

intended to inflict emotional distress, or even that his
conduct has been characterized by 'malice' or a degree

of aggravation which would entitle the plaintiff to

punitive damages for another tort."
Doyle, 103 F.3d at 195 (citations omitted).

Accordingly, "conclusory allegations of 'continued threats to
collect upon and enforce a legally enforceable debt' and the
'drafting and execute[on] of legally deficient documents to
deceive [a] [clourt of defendant's standing'" have been correctly

found "insufficient to state a claim of intentional infliction of

emotional distress." Koufos v. U.S. Bank, N.A., 939 F. Supp. 2d

 

40, 53 (D. Mass. 2013). Rather, "[c]ourts applying Massachusetts
law have consistently dismissed [intentional infliction of
emotional distress] claims" in foreclosure cases, even where
defendants used questionable business practices or communicated
improperly during debt collection, because "this behavior does not

rise to the level of extreme and outrageous." McCusker v. Ocwen

 

Loan Servs., LLC, No. 14-13663-MGM, 2015 WL 4529986, *7 (D. Mass.
July 27, 2015) (collecting cases).

Here, plaintiff alleges that defendant knowingly and
intentionally attempted to foreclose on the Property despite its
knowledge that it lacked standing to foreclose. See Dkt. No. 1-1,
4194-95. In addition, plaintiff alleges that defendant filed a

further fraudulent assignment to convey the interest in the

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Property to itself. See id. Plaintiff characterizes this as illegal
debt collection practices, but does not reference state or federal
debt collection law. See id. 497. Finally, plaintiff alleges that
defendant's actions "caused severe harm, significant economic
damages, emotional harm, and significant emotional distress as
Plaintiff has desperately attempted to stave off foreclosure,
upset to her family, and homelessness . .. ." Id. 496.

These conclusory allegations, without more, do not plausibly
allege "extreme and outrageous" conduct. As described earlier,
courts have dismissed similar cases where the defendants allegedly
used questionable business practices, violated debt collection
laws, or drafted deficient documents to deceive a court. See, e.g.,
Koufos, 939 F. Supp. 2d at 53; McCusker, 2015 WL 4529986 at *7. In
this case, defendant's actions were lawful. Therefore, plaintiff
does not allege a plausible claim of intentional infliction of
emotional distress. Accordingly, defendant is entitled to judgment
on Count 4.

B. Motions to Dissolve the Preliminary Injunction

Because defendant is entitled to judgment on all counts, the
June 14, 2017 preliminary injunction prohibiting defendant from
foreclosing on the property is being dissolved. Moreover, a
preliminary injunction is an equitable remedy. See, e.g., Hecht
Co. v. Bowles, 321 U.S. 321, 329 (1944). Plaintiff has long failed

to make the monthly payments that are a condition of the

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preliminary injunction. See Dkt. No. 34. She has been living in
the Property for free and is now allegedly $248,000 in arrears.
Id. This is inequitable. Therefore, the court would dissolve the
preliminary injunction even if judgment would not be entered for
defendant on all counts.

Vv. ORDER

In view of the foregoing, it is hereby ORDERED that:

1. Defendant's Motion to Dissolve Preliminary Injunction
(Dkt. No. 34) is ALLOWED and the Preliminary Injunction issued on
June 14, 2017 is DISSOLVED.

2. Defendant's Motion for Judgment on the Pleadings (Dkt.
No. 11) is ALLOWED.

3. Judgment shall enter for the defendant.

ee

UNITED STATES DISTRICT JUDGE,

 

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